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                      Exhibit G
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                                                                                                              40035541



                            UNITED STATES DISTRICT COURT                                                  Sep 27 2011
                            EASTERN DISTRICT OF LOUISIANA                                                   1:22AM




IN RE: OIL SPILL by the OIL RIG                 *
“DEEPWATER HORIZON” in the                      *
GULF OF MEXICO, on                              *
APRIL 20, 2010                                  *
                                                *     MDL NO. 2179
MARINE HORIZONS, INC., et al.                   *
                                                *
      Plaintiff,                                *     SECTION: J
                                                *
vs.                                             *
                                                *     JUDGE BARBIER
BP AMERICA PRODUCTION CO.,                      *
      Defendant                                 *
                                                *
      Relates to: 10-8888 Doc. Ref. No. 61140   *
                                                *
                     And                        *
                                                *
VESSEL OF OPPORTUNITY (VOO) CONTRACT DISPUTES *
                                                *
******************************************************************************

               PLAINTIFF ROBERT STEPHEN GAMS’ RESPONSES TO
            DEFENDANT BP AMERICA PRODUCTION COMPANY’S FIRST
           SET OF INTERROGATORIES PROPOUNDED TO ROBERT GAMS


       Plaintiff Robert Stephen Gams responds to BP’s First Set of Interrogatories as follows:

                                      GENERAL OBJECTIONS

       1. Plaintiff objects to the interrogatories to the extent they are not directly related to the
Vessels of Opportunity Case Management Orders [Doc. Nos. 3207, 4062].

       2. Plaintiff objects to the interrogatories to the extent that they are vague, overbroad,
unduly burdensome, and/or not reasonably calculated to lead to the discovery of admissible
evidence.

       3. Plaintiff objects to the interrogatories to the extent that BP has equal or greater access to
the documents or other information requested, than does Plaintiff.

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         4. Plaintiff objects to the interrogatories seeking to establish (or discover) second-hand,
legal, technical and/or scientific knowledge, opinions, theories and/or conclusions – as opposed to
facts.

        5. Plaintiff objects to the interrogatories to the extent they seek documents or other
information protected by the Attorney-Client Privilege and/or Work Product Doctrine, including
the Joint-Prosecution and/or Common-Interest Privilege. 1

        6. Plaintiff objects to the interrogatories relating to Defendants’ own documents (or other
information) as beyond the scope of legitimate and permissible discovery, because they do not seek
to “discover” documents or information, but only to determine what documents or information
plaintiff has discovered or obtained or deems to be relevant. Because the second-hand knowledge
of the plaintiff and/or his attorneys is not relevant nor reasonably calculated to lead to admissible
evidence, it is: (i) protected as Work product; 2 (ii) unduly burdensome to request the plaintiff
and/or his counsel to conduct the same type of review and analysis that could be as easily
conducted by Defendants and/or their counsel; and (iii) beyond the scope and objectives of
legitimate discovery. 3

        7. Plaintiff objects to the interrogatories to the extent they seek information which would
not be admissible under Federal Rule of Evidence 408.

        8. Plaintiff reserves all objections as to admissibility of written responses and/or
documents until such time as they are sought to be introduced into evidence and/or otherwise used
in these proceedings.




         1
             See generally, FED. RULE EVID. 502; FED. R. CIV. PRO. 26(b)(3); FED. R. CIV. PRO. 26(b)(4).
         2
         See Gould v. Mitsui Mining & Smelting, 825 F.2d 676, 680 (2nd Cir. 1987); Shelton v. American Motors,
805 F.2d 1323, 1328-1329 (8th Cir. 1986); Sporck v. Peil, 759 F.2d 312, 316 (3rd Cir. 1985); James Julian v.
Raytheon, 93 F.R.D. 138, 144 (D.Del. 1982); Smith v. Florida Power & Light, 632 So.2d 696 (Fla. App. 3rd Dist.
1994).
         3
            See, e.g., Smith v. BIC Corp., 121 F.R.D. 235, 244-245 (E.D.Pa. 1988), rev’d, in part BIC v. Smith, 869
F.2d 194 (3rd Cir. 1989). In the relevant portion of Smith, the U.S. Third Circuit denied BIC the production of
information “since they were allegedly internal documents from BIC – the documents were already in their
possession.” 869 F.2d at 197 (emphasis supplied). At the same time, BIC sought a protective order to prohibit the
plaintiff from disseminating trade secret information, regarding the design, safety and quality tests of the product, and
to limit discovery of other accident or claims information. This part of the trial court’s ruling was reversed, in part, by
the Third Circuit, which granted BIC a protective order with respect to its trade secrets, but affirmed the trial court’s
ruling compelling BIC to produce information regarding other injuries or claims. See BIC v. Smith, 869 F.2d at
201-202.

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                                    RESERVATION OF RIGHTS

       Plaintiffs respectfully reserve the right to supplement and amend these discovery responses
as formal expert reports are finalized and served, and as other facts or information come to light
through discovery or is otherwise uncovered or developed.

                  GENERAL RESPONSE TO ALL INTERROGATORIES:

       Subject to, and without waiving the General Objections and Reservation of Rights,

Plaintiff respectfully incorporates by reference in response to all of the interrogatories the

following:

       VOO FOCUS PLAINTIFFS PARTIAL MOTION FOR SUMMARY JUDGMENT [Doc. No. 4035].

INTERROGATORY NO. 1:

        Please state precisely and separately each legal claim that you are making against each
defendant regarding your participation in the VoO Program and, further, describe in detail the
factual basis underlying each claim.

RESPONSE:

       Subject to, and without waiving the General Objections and Reservation of Rights,

Plaintiff respectfully responds as follows:

Mr. Gams is alleging breach of contract pursuant to the terms of the Master Vessel Charter

Agreement (“MVCA”) he entered into with BP America Production Company (“BP”). Without

notice, explanation, or justification, BP ceased making timely payments rightfully due to Mr.

Gams under the charter agreement. Further responding, plaintiff refers Defendant to plaintiff’s

“Second Amended Complaint” filed in this action.

INTERROGATORY NO. 2:

        Please describe in detail and separately for each VoO Vessel the amount of damages that
you are claiming in these proceedings, provide an itemized computation of each source of damages
that you are claiming, and identify all documents that support your claimed damages.


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RESPONSE:

       Subject to, and without waiving the General Objections and Reservation of Rights,

Plaintiff respectfully responds as follows:

Plaintiff is claiming damages for “Cool Breeze, Jr.” in the amount of $166,400.0, calculated at

$1,600.00 per day for one hundred and four days. The daily rate is based upon MVCA number

MOB 5530, with exhibits. The number of days is the days for which Plaintiff is unpaid;

specifically from the effective date of the Master Charter Agreement to the date Plaintiff received

Verification of Final Decontamination.

       Plaintiff is claiming damages for “Cool Breeze” in the amount of $267,000.00, calculated

at $2,100.00 per day for one hundred and twenty days and $1,500.00 per day for ten days (the

approximate number of days “Cool Breeze” was under repair for damages incurred while

participating in VoO activities). The daily rate is based upon MVCA number MOB 5882, with

exhibits. The number of days is the days for which Plaintiff is unpaid; specifically from the

effective date of the MVCA to the approximated date Plaintiff received effective notice “Cool

Breeze” had in fact been inspected and received a “Certification of Inspection” from the Coast

Guard, including July 22 - July 25, 2011. In addition, Defendant has failed to reimburse Plaintiff

for several days dockage fees incurred pursuant the agreement between Plaintiff and Defendant.

INTERROGATORY NO. 3:

        Please identify with specificity and separately for each VoO Vessel the individual period or
periods that you contend that your VoO Vessel was subject to charter under the Master Vessel
Charter Agreement and, further, describe in detail the factual basis underlying your contention and
identify all documents that support your contention.




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RESPONSE:

        Subject to, and without waiving the General Objections and Reservation of Rights,

Plaintiff respectfully responds as follows:

See Response to Interrogatory No. 2. In further response, on May 4, 2010, Mr. Gams entered into

a MVCA with BP for the hire of a vessel identified as “Cool Breeze, Jr.” (the “First Agreement”).

The effective date of the First Agreement was May 7, 2010. Subsequently, on May 14, 2010, Mr.

Gams entered into another MVCA with BP for the hire of a vessel identified as “Cool Breeze” (the

“Second Agreement”). The effective date of the Second Agreement was May 15, 2010.

        Under the terms of the MVCAs, BP retained exclusive use of the vessels until it terminated

the “charter term.” Pursuant to the MVCAs, Plaintiff made both vessels available for use in, and

both vessels were used in, the VoO Program. Mr. Gams submitted invoices for payment to BP

and/or its agent Danos & Curole Staffing, LLC.

        On or about July 21, 2010, Mr. Gams was notified by BP and/or its agent that the vessel

used under the terms of the First Agreement need not report for work in the VoO Program. On

August 24, 2010, BP caused an “Off Hire Dispatch Notification” related to the First Agreement to

be delivered to Plaintiff.

        On or about August 5, 2010, Plaintiff was notified by BP and/or its agent that the vessel

used under the terms of the Second Agreement need not report for work in the VoO Program. On

September 7, 2010, BP caused an “Off Hire Dispatch Notification” related to the Second

Agreement to be delivered to Plaintiff.

        Neither vessel received final decontamination. “Cool Breeze, Jr.” was inspected and

received a “Verification of Final Decontamination” on November 2, 2010. Plaintiff was orally


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notified on or about December 10, 2010, that “Cool Breeze” had been inspected and passed such

inspection and would receive a “Certificate of Inspection.” However, despite repeated requests,

neither Defendant and/or its agents delivered the “Certificate of Inspection” to Plaintiff.

       Thereafter, Plaintiff placed “Cool Breeze” in dry dock for various repairs, of which

approximately ten days were spent on repairs to her hull due to damages sustained while working

in the VoO Program.

INTERROGATORY NO. 4:

       Please describe in detail and separately for each VoO Vessel all maintenance,
modifications, additions, repairs, replacements, or improvements (collectively, “improvements”)
made to the VoO Vessel since April 20, 2010. For each of the improvements, please identify the
cause or activity that made the improvement necessary, the approximate date the improvement was
completed, who performed the improvement, and the detailed cost of the improvement.

RESPONSE:

       Subject to, and without waiving the General Objections and Reservation of Rights,

Plaintiff respectfully responds as follows:

See Response to Interrogatory No. 3 above. Further responding, during the term of the MVCA,

Plaintiff engaged in routine maintenance, including but not limited to checking the engines, adding

oil as necessary, inspecting the vessel, cleaning the vessels and bringing aboard equipment

provided by Defendant and/or its agents. These maintenance items were performed on a daily or

almost daily basis. Both vessels were modified by removing most or all of the equipment used for

fishing (such as rods, tackle and bait).

INTERROGATORY NO. 5:

        Please state separately for each VoO Vessel whether, since April 20, 2010, the VoO
Vessel was used for any activity other than VoO Activity. If so, for each occasion that the VoO
Vessel was used for such an activity, please identify the nature of the activity, the entity or person
hiring the VoO Vessel to perform the activity (if applicable), the compensation for the activity (if

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applicable), the dates the activity was performed, the location that the VoO Vessel performed the
activity, the employer of the vessel’s crew during the activity, and all documents associated with
the activity (e.g., catch reports, fuel tickets, etc.).

RESPONSE:

        Subject to, and without waiving the General Objections and Reservation of Rights,

Plaintiff respectfully responds as follows:

Plaintiff used the vessel “Cool Breeze” for several charter trips in the fall of 2011. Plaintiff did not

use “Cool Breeze, Jr.” for any activity other than VoO activity.

INTERROGATORY NO. 6:

        Please identify all sources of income (including unemployment compensation and any
other loss of income payments received from BP or any other source) that you have received since
April 20, 2010.

RESPONSE:

        Subject to, and without waiving the General Objections and Reservation of Rights,

Plaintiff respectfully responds as follows:

Plaintiff states that he had no source of income from either the “Cool Breeze” or “Cool Breeze Jr.”

vessel that was part of the VoO Program during the MVCA term for those vessels.

INTERROGATORY NO. 7:

       Will you voluntarily permit BP to inspect your 2010 State and Federal tax returns? If so,
please sign the authorization forms that accompany these interrogatories and return them to
counsel for defendant along with your answers to these interrogatories.

RESPONSE:

        Subject to, and without waiving the General Objections and Reservation of Rights,

Plaintiff respectfully responds as follows:

Previously, in response to the request of defendant, Mr. Gams submitted all 1099(s) received for


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payments by defendant and/or agents and representatives of defendant during 2010 pursuant to the

subject charter agreements. Plaintiff had no other 1099(s) during the time period of the MVCA.

INTERROGATORY NO. 8:

        Please identify separately for each VoO Vessel each date on which the VoO Vessel
performed VoO Activities and describe in detail the VoO Activities that the VoO Vessel
performed on each of those dates and the location of such VoO Activities. Please also state the
length of time undertaken for each such VoO Activity.

RESPONSE:

       Subject to, and without waiving the General Objections and Reservation of Rights,

Plaintiff respectfully responds as follows:

Please see Response to Interrogatory Nos. 2 and 3. Further responding, plaintiff states that both

vessels were engaged in activities as directed by Defendant and/or its agents, including patrolling

areas assigned each vessel and reporting oil and/or dispersants found by radio to Defendant and/or

its agent. Additionally, the vessels were engaged in removing, or attempting to remove, oil it

found. The location of the vessel activities were the Gulf of Mexico and Mobile Bay. The length

of time the vessels engaged in the activity varied from day to day but were generally eight to twelve

hour days. Further, the vessels were on-hire at all times from the date the charter went into effect

until termination. Pursuant to the terms of the charter, Mr. Gams was required to maintain each

vessel for the exclusive use of defendant until properly terminated. The charter agreements

required that the vessels “shall be available and at charterer’s disposal for operation twenty-four

hours per day.”

INTERROGATORY NO. 9:

       Please identify separately for each VoO Vessel all dates on which the VoO Vessel
performed VoO Activities for which you claim that you were not adequately compensated under
the Master Vessel Charter Agreement and the location of such VoO Activities. Please also state the

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length of time undertaken for each such VoO Activity.

RESPONSE:

       Subject to, and without waiving the General Objections and Reservation of Rights,

Plaintiff respectfully responds as follows:

Please see Responses to Interrogatory Nos. 2, 3 and 8.

INTERROGATORY NO. 10:

       Are you are alleging that any of the VoO Vessels came into contact with oil or other
contaminant while performing VoO Activities? If so, please identify separately for each VoO
Vessel the contaminant with which the VoO Vessel came into contact, each date on which you
contend the VoO Vessel came into contact with oil or other contaminant, the parts of the VoO
Vessel that contacted the oil or other contaminant, and describe the VoO Activity in which the
VoO Vessel was participating and the location of such activity on the dates you contend the VoO
Vessel came into contact with oil or other contaminant.

RESPONSE:

       Subject to, and without waiving the General Objections and Reservation of Rights,

Plaintiff respectfully responds as follows:

Plaintiff states both vessels subject to the MVCAs came into contact with oil and oil substances,

including but not limited to chemical dispersants. The exposure occurred on an almost daily basis.

The exposure occurred while the vessels were performing their duties as described in response to

Interrogatory No. 8 above. The locations were the Gulf of Mexico and Mobile Bay. Further

responding, Plaintiff refers Defendant to its document styled “Preliminary HSSE Incident Report

‘Short Form’” (Defendant’s bates numbers BP-HZN-2179VOO00007898 -

BP-HZN-2179VOO00007900) wherein BP describes the Plaintiff and his crew’s exposure to

Benzene at a level of 24 parts per million as measured by an “OSHA Air Quality/Industrial

Hygiene employee” using a “VX-500 PID.” The location “stretched[ed] from Four Seasons Pier to


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the Shale Fishing Pier approximately 0.25 miles to 1.5 miles out from the beach (aprox. 30.15.50 &

87.34.80).” Other than benzene, Plaintiff is not able to identify any other specific chemicals to

which the vessels were exposed.

INTERROGATORY NO. 11:

        Please identify in detail and separately for each VoO Vessel every reason that you contend
it was necessary for the VoO Vessel to receive decontamination.

RESPONSE:

       Subject to, and without waiving the General Objections and Reservation of Rights,

Plaintiff respectfully responds as follows:

Plaintiff states that the MVCA requires decontamination.       Further responding, plantiff’s boat

came into contact with the oil.

INTERROGATORY NO. 12:

       Please identify separately for each VoO Vessel each instance in which you discussed
decontamination for the VoO Vessel, including identifying the date of any such communication
and the identity or a description of the person with whom you discussed the decontamination for
the VoO Vessel.

RESPONSE:

       Subject to, and without waiving the General Objections and Reservation of Rights,

Plaintiff respectfully responds as follows:

Please see Response to Interrogatory Nos. 3 and 11. Further responding, Plaintiff discussed

“decontaminating” each vessel subject to the MVCA with his crew members, a variety of friends

and acquaintances, dock workers, other captains and crew members, Defendants and/or its

Defendant’s agents. Plaintiff cannot identify or describe each such person nor provide the date of

any such communication.


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INTERROGATORY NO. 13:

     Please identify and state in detail separately for each VoO Vessel all reasons that the
VoO Vessel was not decontaminated immediately after completion of VoO Activities.

RESPONSE:

       Subject to, and without waiving the General Objections and Reservation of Rights,

Plaintiff respectfully responds as follows:

Please see response to Interrogatory Nos. 11 and 12. Further responding, Plaintiff states that “Cool

Breeze, Jr.” was never decontaminated because neither BP nor its agents offered to decontaminate

it nor made decontamination available at its facilities. “Cool Breeze” was not decontaminated

prior to being notified not to report to work because the previous day, despite being ordered for

decontamination and reporting to be decontaminated, BP and/or its agent ceased decontamination

operations as the seas became too rough to conduct such operations.

INTERROGATORY NO. 14:

        Please identify all persons who have knowledge related to the claims that you are making in
these proceedings, including a description of the type and basis of their knowledge.

RESPONSE:

       Subject to, and without waiving the General Objections and Reservation of Rights,

Plaintiff respectfully responds as follows:

Plaintiff is currently unable to identify each and every person who has knowledge of the facts

related to the claims made in these proceedings. For example, the identity of each person

employed by Defendant and/or its agent is within the exclusive control of Defendant and/or its

agents. Further responding, Plaintiff states he and his crew members have knowledge related to the

claims being made in these proceedings.


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INTERROGATORY NO. 15:

         Please identify all fact or expert witnesses whom you expect to call in any arbitration or
trial regarding your participation in the VoO Program, including a description of their background
and the facts known by each witness.

RESPONSE:

       Subject to, and without waiving the General Objections and Reservation of Rights,

Plaintiff respectfully responds as follows:

At this time, Mr. Gams does not know who he intends to call as a witness in any arbitration or trial

regarding his participation in the VoO Program and/or the alleged breach of the subject charter

agreements in question or what the expected testimony of each witness may provide in support of

his claims. In further response, plaintiff refers to his responses to the interrogatories.

       Dated: September 27, 2011

                                              Respectfully Submitted,

                                              /s/ Lange Clark
                                              Lange Clark, Esq.
                                              301 19th Street North, Suite 550
                                              Birmingham, Alabama 35203
                                              Telephone: 205-939-3933
                                              langeclark@mindsping.com
                                              Counsel for Robert Stephen Gams



Of Counsel:
ROBIN L. GREENWALD
JAMES C. KLICK
JOEL WALTZER
PLAINTIFFS’ STEERING COMMITTEE




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                              CERTIFICATE OF SERVICE

       WE HEREBY CERTIFY that the above and foregoing Discovery Responses will be served on
All Counsel via Lexis-Nexis File & Serve, pursuant to PRE-TRIAL ORDER NO. 12, this 27th day of
September, 2011.


                                     Stephen J. Herman and James Parkerson Roy
                                               Plaintiffs’ Liaison Counsel




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